 1                                                Exhibit D

 2          Cravath works with the Debtors in determining the appropriate staffing for all matters, and

 3   proactively seeks opportunities to leverage the Debtors’ in-house legal and business resources
 4
     whenever it is reasonable and cost-effective to do so. Cravath avoids duplication of effort when
 5
     handling Debtor matters. Cravath makes reasonable efforts to maintain continuity in its staffing and
 6
     provides the Debtors with ample notification if any material changes to staffing are made. In these
 7
     Chapter 11 Cases and the related regulatory, investigative, criminal and litigation matters, staffing
 8
 9   needs are fluid, and Cravath periodically changes the composition of certain members of its team to

10   provide adequate resources or avoid duplication.
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